        3:13-cr-00092-DCN         Date Filed 02/05/13      Entry Number 1        Page 1 of 7




                  IN THE DISTRICT COURT OF THE UNITED STATES
                          DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION


UNITED STATES OF AMERICA                             )       CR. NO.: 3:13-CR-00092
                                                     )
                     vs.                             )       18 U.S.C. § 371
                                                     )       18 U.S.C. § 981(a)(1)(C)
RICHARD ZAHN                                         )       28 U.S.C. § 2461(c)
                                                     )
                                                     )       INFORMATION
                                                     )
                                                     )



                                             COUNT ONE

THE UNITED STATES ATTORNEY CHARGES:

                                         BACKGROUND

At all times relevant to this Information:

       A.      South Carolina State University (hereinafter "SCSU") is a publically-funded, state

supported school located in Orangeburg, South Carolina and it receives both state and federal funds.

SCSU is governed by a Board OfTrustees ("the Board"), and the substantial majority ofthe Board's

members are elected to their positions by the South Carolina General Assembly. The Board has the

power to hire and fire the President of SCSU, who, in tum, has the ability to hire and fire other

senior university employees, including but not limited to SCSU's Chief of Police. The Board has

substantial influence and control over the affairs of SCSU and its affiliated foundations and

organizations. The Chairman ofthe Board is elected by the Board from among its membership. The

Board and its Chairman, as well as SCSU's senior employees and officers (including but not

limited to its Chief of Police) have a fiduciary relationship with, and solemn obligations to, SCSU
        3:13-cr-00092-DCN         Date Filed 02/05/13      Entry Number 1       Page 2 of 7




and its students, faculty, and alumni. The Board and its Chairman also have a fiduciary relationship

with the citizens ofthe State ofSouth Carolina. Co-conspirator Jonathan Pinson (charged separately)

served as Chairman ofthe Board of SCSU; as an elected member ofthe Board, Pinson was a public

official and had a fiduciary relationship with, and owed a duty of loyalty to, SCSU, its students,

faculty and alumni, and the citizens of the State of South Carolina.

       S.      SCSU has a number of full-time employees and it transacts business in interstate

commerce.    Like other educational governmental entities, SCSU owns real property and is

responsible for supplying various services to its residents. One of SCSU's programs is the 1890

Research and Extension Program (hereinafter" 1890 Program"). The 1890 Program receives much

ofits funding from the United States Department ofAgriculture. Through the 1890 Program, SCSU

provides a variety ofpublic services to rural and urban limited-resource families. The 1890 Program

allowed SCSU to build "extension" offices throughout South Carolina. During the time periods

relevant to this Information, SCSU received in excess of $10,000.00 each year in federal funds

through various grant programs and otherwise.

       C.      Defendant RICHARD ZAHN is a businessman from Florida with a substantial

ownership interest in a construction company based in Florida. Defendant ZAHN was involved in

business ventures with co-conspirator Jonathan Pinson and others in Columbia, South Carolina and

in the Atlanta, Georgia area (including but not limited to DeKalb County, Georgia). Defendant

ZAHN also owned real property in Orangeburg County, known as the "Sportsman's Retreat," which

he (ZAHN) wanted to sell for a profit. Defendant ZAHN requested Pinson's assistance in

arranging the purchase of the Sportsman's Retreat by SCSU and the 1890 Foundation. Pinson

agreed to illegally use his influence and position to arrange the purchase of the property by SCSU


                                                 2
        3:13-cr-00092-DCN         Date Filed 02/05/13       Entry Number 1       Page 3 of 7




and the 1890 Foundation at a price set by Defendant ZAHN in return for Defendant ZAHN's

agreement to buy a new Porsche Cayenne automobile for Pinson.

       D.      Co-Conspirator Michael Bartley was employed by SCSU as its Chief of Police and

was, therefore, a public official. Bartley is a friend of both Defendant ZAHN and Pinson, and he

(Bartley) agreed to help promote the sale of the Sportsman's Retreat to SCSU in exchange for a

payment of approximately $30,000.00 in cash, plus at least one other item of value.




                                      THE CONSPIRACY

       E.      Beginning at a time unknown to the United States Attorney, but beginning in at least

2010, and continuing up to and including late 2011, in the District of South Carolina and elsewhere,

the Defendant, RICHARD ZAHN knowingly and willfully did combine, conspire, agree and have

tacit understanding with others both known and unknown:

               (1)     to violate Title 18, United States Code, Sections 1343 and 1346, by using

                       interstate wires in execution of a scheme and artifice to deprive the citizens

                       of the State of South Carolina and SCSU and its students, faculty, and

                       alumni of the intangible right of honest services;

               (2)     to violate Title 18, United States Code, Section 666, by offering illegal

                       payments to, and accepting illegal payments as, agents of an organization

                       receiving $10,000.00 or more in federal funds in a calendar year, said illegal

                       payments totaling in aggregate amount of $5,000.00 or more; and




                                                 3
        3:13-cr-00092-DCN           Date Filed 02/05/13     Entry Number 1        Page 4 of 7




                 (3)    to violate Title 18, United States Code, Section 1951 (the Hobbs Act) by

                        affecting and attempting to affect interstate commerce and the movement of

                        articles and commodities in interstate commerce by extortion under color of

                        official right.



                                          OVERT ACTS

F.     In order to further the conspiracy and to effectuate its objects, the Defendants and their co­

conspirators performed the following overt acts (among other acts) in the District of South Carolina

ane elsewhere:

       1.        On September 10,2011, Defendant ZAHN (who was physically located in Florida)

and Pinson (who was physical1y located in South Carolina) used cellular telephones to discuss

arranging the purchase ofthe Sportsman's Retreat by SCSU.

       2.        On September 22,2011, Defendant ZAHN (who was physically located in Florida)

and Pinson (who was physically located in South Carolina) used cellular telephones to discuss

arranging the purchase of the Sportsman's Retreat by SCSU. During this phone call, Pinson

indicated that he had contacted officials at SCSU and was working on a plan for SCSU to purchase

the Sportsman's Retreat.

       3.        On October 7, 2011, Defendant ZAHN (who was physically located in Florida) and

Pinson (who was physically located in South Carolina) used cellular telephones to discuss arranging

the purchase ofthe Sportsman's Retreat by SCSU. During this phone call, Defendant ZAHN agreed

to provide Pinson with a new Porsche Cayenne automobile as a "thank you" if Pinson arranged

SCSU's purchase of the Sportsman's Retreat.


                                                 4
        3:13-cr-00092-DCN         Date Filed 02/05/13     Entry Number 1        Page 5 of 7




       4.      On October 13, 2011, Bartley and Pinson used cellular telephones to discuss

Bartley's role in helping to arrange the purchase of the Sportsman's Retreat in return for

"kickbacks" to be supplied by Defendant ZAHN.

       5.      On October 17,2011, Defendant ZAHN (who was physically located in Florida) and

Pinson (who was physically located in South Carolina) used cellular telephones to discuss arranging

the purchase of the Sportsman's Retreat by SCSU. During this phone call, Defendant ZAHN told

Pinson that Pinson would have a Cayenne in his (Pinson's) backyard as soon as SCSU purchased

the Sportsman's Retreat.

       6.      On October 19,2011, Defendant ZAHN (who was physically located in Florida) and

Pinson (who was physically located in South Carolina) used cellular telephones to discuss arranging

the purchase of the Sportsman's Retreat by SCSU. During this phone call, Defendant ZAHN told

Pinson that he wanted SCSU to sign a contract concerning the purchase ofthe Sportsman's Retreat

and Pinson indicated that he was "on top of that".

       7.      On October 19, 2011, Bartley and Pinson used cellular telephones to discuss the

progress of the contemplated purchase of Sportsman's Retreat by SCSU.

       8.      On November 1,2011, Bartley and Pinson used cellular telephones to discuss whether

Defendant ZAHN had received a letter of intent from SCSU and Bartley told Pinson to let him

(Defendant Bartley) know what he could do to move things along.

       All in violation of Title 18, United States Code, Section 371.




                                                 5
         3:13-cr-00092-DCN          Date Filed 02/05/13       Entry Number 1        Page 6 of 7




                                           FORFEITURE

1.     SPECIFIED UNLAWFUL ACTIVITIES:

       Upon conviction for one or more violations ofTitle 18, United States Code, 371, as charged

in this Information, the Defendants, RICHARD ZAHN and MICHAEL BARTLEY, shall forfeit

to the United States, pursuant to Title 18, United States Code, Section 981 (a)(l )(C) and Title 28,

United States Code, Section 2461 (C), any property, real or personal, which constitutes, or is derived

from, any proceeds the Defendants obtained, directly or indirectly, as the result of such violations,

and any property traceable to such property;

2.     PROPERTY:

       A.      Pursuant to 18 U.S.C. § 981 (a)(l)(C), and 28 U.S.C. § 2461 (C), the property which

is subject to forfeiture upon conviction ofthe Defendants for the offenses charged in this Indictment

includes, but is not limited to, the following:

        1.     Proceedsl Money Judgment:

               (a)     A sum of money, and all interest and proceeds traceable thereto, in that such
                       sum equals the value of the proceeds the Defendants obtained, directly or
                       indirectly, as the result of their violations of 18 U.S.C. §371 for which the
                       Defendants are jointly and severally liable.

SUBSTITUTION OF ASSETS:

        If any of the property described above as being subject to forfeiture, as a result of any act or

omission of the Defendants ­

               (1)     cannot be located upon the exercise of due diligence;
               (2)     has been transferred or sold to, or deposited with, a third person;
               (3)     has been placed beyond the jurisdiction of the Court;
               (4)     has been substantially diminished in value; or
               (5)     has been commingled with other property which cannot be subdivided
                       without difficulty;


                                                   6
        3:13-cr-00092-DCN         Date Filed 02/05/13      Entry Number 1        Page 7 of 7




it is the intent of the United States, pursuant to Title 18, United States Code, Section 982(b)(1),

incorporating Title 21, United States Code, Section 853(P), to seek forfeiture of any other property

of the said Defendants up to an amount equivalent to the value of the above-described forfeitable

property;

       Pursuant to Title 18, United States Code, Section 981 (a)(I)(C), and Title 28, United States

Code, Section 2461(C).



                                               ILLIAM N. NETTLES
                                              UNITED STATES ATTORNEY



February    Lj      , 2013
Charleston, South Carolina




                                                 7
